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     RAMESH “SUNNY” BALWANI
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10
                                  UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN JOSE DIVISION
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14
     UNITED STATES OF AMERICA,                   Case No. 18-CR-00258-EJD
15
                     Plaintiff,                  [PROPOSED] ORDER GRANTING
16                                               DEFENDANT RAMESH “SUNNY”
           v.                                    BALWANI’S ADMINISTRATIVE
17                                               MOTION TO FILE OVERLENGTH
     RAMESH “SUNNY” BALWANI,                     BRIEF SUPPORTING HIS MOTIONS
18                                               IN LIMINE
                     Defendant.
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                                                 Judge:   Honorable Edward J. Davila
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                                                               [PROPOSED] ORDER GRANTING DEFENDANT
                                                                       BALWANI’S ADMIN MOTION TO FILE
                                                             OVERLENGTH BRIEF, CASE NO. 18-CR-00258-EJD
      Case 5:18-cr-00258-EJD Document 1172 Filed 12/01/21 Page 2 of 2



 1                                        [PROPOSED] ORDER
 2          On November 19, 2021, Defendant Ramesh “Sunny” Balwani submitted an administrative
 3   motion to file an overlength brief supporting his motions in limine.
 4          The Court, having reviewed the motion, finds good cause and hereby GRANTS
 5   Mr. Balwani’s motion.
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 7          IT IS SO ORDERED.
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              12/1/2021
      Dated: _____________
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                                                           HONORABLE EDWARD J. DAVILA
10                                                         UNITED STATES DISTRICT JUDGE
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                                                                      [PROPOSED] ORDER GRANTING DEFENDANT
                                                       1                      BALWANI’S ADMIN MOTION TO FILE
                                                                    OVERLENGTH BRIEF, CASE NO. 18-CR-00258-EJD
